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ROYAL BANK OF CANADA, RBC CAPITAL MARKETS
CORPORATION (incorrectly named and sued as “RBC WEALTH
MANAGEMENT COMPANY, formerly RBC DAIN RAUSCHER,
INC.”). and THE ROYAL BANK OF CANADA US WEALTH
ACC ATION PLAN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

STEVEN BENHAYON, Case No. CV08-06090 FMC(AGRx)
Plaintiff, DECLARATION OF
CHRISTOPHER W. DECKER IN
Vv. SUPPORT OF DEFENDANTS’

MOTION FOR PARTIAL

ROYAL BANK OF CANADA, a SUMMARY JUDGMENT ON

Canadian company, business form PLAINTIFF’S CLAIM FOR

unknown; RB ALTH BENEFITS UNDER THE ROYAL

MANAGEMENT COMPANY, formerly BANK OF CANADA US WEALTH

RBC DAIN RAUSCHER, INC., ACCUMULATION PLAN

business form unknown: THE ROYAL
BANK OF CANADA US WEALTH

ACCUMULATION PLAN, former! DJ: Florence-Marie Cooper
known as RBC Dain Rauscher Wealth Courtroom: (Roybal) 750
Accumulation Plan; and, DOES 1 MJ: Alicia G. Rosenberg
through 20, Courtroom: (Spring) 23
Defendants. Trial Date: February 16, 2010

 

 

CASE NO. CV08-06090 FMC(AGRx)
DECLARATION OF CHRISTOPHER W. DECKER

 

 
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DECLARATION OF CHRISTOPHER W. DECKER

I, CHRISTOPHER W. DECKER, declare and state as follows:

1. [aman attorney at law, duly licensed to practice before all courts of the
State of California. I am an Associate with the law firm of Ogletree, Deakins, Nash,
Smoak & Stewart P.C., attorneys of record herein for Defendants ROYAL BANK
OF CANADA, RBC CAPITAL MARKETS CORPORATION (incorrectly named
and sued as “RBC WEALTH MANAGEMENT COMPANY, formerly RBC DAIN
RAUSCHER, INC.”), and THE ROYAL BANK OF CANADA US WEALTH
ACCUMULATION PLAN. I make this declaration in support of Defendants
Motion For Partial Summary Judgment On Plaintiff's Claim For Benefits Under The
Royal Bank Of Canada U.S. Wealth Accumulation Plan (the “Motion”). The facts

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set forth herein are true of my own personal knowledge, and if called upon to testify

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thereto, I could and would competently do so under oath.

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2. Attached hereto as Exhibit A are true copies of excerpts of the

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A

Deposition of Plaintiff Steven Benhayon taken in this matter on June 25, 2009.

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These excerpts contain the deposition testimony cited by Defendants in their

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Memorandum of Points and Authorities and Separate Statement of Undisputed Facts

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filed in support of the Motion.

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DATED: July 22, 2009 OGLETREE, DEAKINS, NASH, SMOAK
& STEWART, P.C.

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By: Chl lJ ol —
istopher W. Decker

Attorneys for Defendants
ROYAL BANK OF CANADA, RBC
CAPITAL MARKETS CORPORATION

incorrectly named and sued as “RBC

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formerly RBC DAIN RAUSCHER,
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DECLARATION OF CHRISTOPHER W, DECKER

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